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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

INTERACTIVE GAMES LLC,                        )
                                              )
                     Plaintiff,               )
       v.                                     )     C.A. No. 19-1105 (RGA) (SRF)
                                              )
DRAFTKINGS, INC.,                             )
                                              )
                     Defendant.               )


                           REQUEST FOR ORAL ARGUMENT

              Pursuant to D. Del. LR 7.1.4, Defendant DraftKings, Inc. respectfully requests

argument on its Motion to Dismiss for Failure to State a Claim pursuant to 35 U.S.C. § 101

(D.I.10). Briefing on the motion was completed on January 10, 2020.


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February 20, 2020




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                                  CERTIFICATE OF SERVICE

                I hereby certify that on February 20, 2020, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

                I further certify that I caused copies of the foregoing document to be served on

February 20, 2020, upon the following in the manner indicated:


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